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                        UNITED STATES DISTRICT COURT

                       NORTHERN DISTRICT OF ILLINOIS

                                EASTERN DIVISION

LAWRENCE E. JAFFE PENSION PLAN, On )          Lead Case No. 02-C-5893
Behalf of Itself and All Others Similarly )   (Consolidated)
Situated,                                 )
                                          )   CLASS ACTION
                              Plaintiff,  )
                                          )   Honorable Jorge L. Alonso
       vs.                                )
                                          )
HOUSEHOLD INTERNATIONAL, INC., et )
al.,                                      )
                                          )
                              Defendants. )
                                          )



      PLAINTIFFS’ OMNIBUS MOTION TO EXCLUDE DEFENDANTS’ EXPERTS




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I.      INTRODUCTION
        On remand from the Seventh Circuit, plaintiffs’ loss causation expert Professor Daniel R.

Fischel (“Fischel”) submitted three supplemental expert reports establishing that his artificial
inflation quantifications were not distorted by firm-specific, nonfraud information and explaining in

“nonconclusory terms” the basis for his opinions. Glickenhaus & Co. v. Household Int’l, Inc., 787

F.3d 408, 422 (7th Cir. 2015); see also 2/1/16 Order (denying motion to exclude Fischel) (Dkt. No.

2102). In an effort to “shoulder the burden of identifying some significant, firm-specific, nonfraud

related information that could have affected the stock price,” Glickenhaus, 787 F.3d at 422,

defendants jettisoned their prior loss causation expert Mukesh Bajaj (“Bajaj”) and retained three new
experts to rebut Fischel’s opinions, Professors Allen Ferrell (“Ferrell”), Christopher M. James

(“James”) and Bradford Cornell (“Cornell”).

        As the Seventh Circuit made clear, defendants had to provide “significant negative

information about Household unrelated to the[] corrective disclosures (and not attributable to market

or industry trends).” Glickenhaus, 787 F.3d at 419. That is because “Fischel’s models controlled for

market and industry factors and general trends in the economy – the regression analysis took care of

that.” Id. at 421. To that end, Ferrell, James and Cornell purported to identify company-specific,

nonfraud information that they claimed could have affected Household’s stock price during the

Leakage Period. But defendants failed to “shoulder their burden”; this Court held that “defendants
have not identified ‘significant, firm-specific, nonfraud related information that could have affected

[Household’s] stock price.’” 2/1/16 Order at 22 (quoting Glickenhaus, 787 F.3d at 421).

        Defendants, as the proponents of expert testimony, bear the burden of demonstrating that the

proposed testimony of Ferrell, James and Cornell meets the requirements for admissibility under

Fed. R. Evid. 702 and Daubert v. Merrell Dow Pharms., 509 U.S. 579 (1993). As set forth below,

defendants have come up short, and there are numerous grounds on which to exclude the testimony

of their three experts at trial.

        First, Ferrell and James should be precluded from testifying at trial about the “numerous”
disclosures they contend are company-specific, nonfraud-related. In light of this Court’s holding

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that “the categories of disclosures that defendants characterize as firm-specific and unrelated to the

fraud are neither,” such testimony will neither help the jury nor “determine a fact in issue.” To the

contrary, testimony by Ferrell and James that there was firm-specific, nonfraud information that

distorted Fischel’s models would confuse the jury and prejudice plaintiffs. Such testimony is also

unreliable and must be excluded because it contradicts the overwhelming evidence in this case, as

reaffirmed by the Seventh Circuit. See Glickenhaus, 787 F.3d at 420. Ferrell’s and James’ opinions

that certain information “may have” or “could have” contributed to Household’s stock price decline

– opinions unsupported by any quantitative analysis – are also inadmissible, as they are too

speculative to satisfy Daubert’s reliability threshold and will not assist the jury.

        Second, Ferrell should be excluded because defendants made a tactical decision which kept
Ferrell ignorant of the reasons why defendants’ statements and omissions were false and misleading,

rendering his opinion that certain events were not fraud-related utterly unreliable. Defendants

compounded their flawed strategy by instructing Ferrell not to answer questions at his February 27,

2016 deposition. Defendants’ conduct at the deposition is a clear violation of Rule 30(c)(2), which

also justifies his exclusion.

        Third, at his deposition, Ferrell also ambushed plaintiffs by disclosing, for the first time, the
“basis and reasons” and the “facts or data [he] considered” in selecting the companies listed in the

CSFB Specialty Finance Universe to create his own peer index, which serves as the lynchpin for

many of his opinions, in violation of Rule 26(a)(2). Again, this discovery violation, standing alone,

is severe enough to warrant Ferrell’s exclusion.

        Fourth, James should be precluded from testifying at trial that Household’s stock price
declined during the Leakage Period (11/15/01 - 10/11/02) as a result of company-specific, nonfraud

information, an opinion purportedly demonstrated by his comparison of Household to the common

stock price of a “peer group” consisting of five subprime lenders in the credit card and auto finance

industries. Like Ferrell, James’ selection of the “peer group” identified in his rebuttal report was

entirely subjective, unreliable and admittedly inconsistent with his own methodology, as he ignored

the accepted sources from which he and other experts in his field (including Ferrell) generally select

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peer groups. Further, in comparing Household to his cherry-picked “peer group,” James employed

no event study or regression analysis, instead adopting an approach “similar in spirit” to a

“propensity score matching technique” – a supposedly “alternative scientific approach” that James

concedes appears nowhere in his reports or in academic articles on loss causation and damages.
Because James failed to employ “the same level of intellectual rigor that characterizes the practice of

an expert in the relevant field,” his opinion must be excluded. Kumho Tire Co. Ltd. v. Carmichael,

526 U.S. 137, 152 (1999).

        Fifth, Cornell’s opinion that Fischel fails to “reliably control for value-relevant, firm-
specific, non-fraud information” (i.e., confounding information) during the Leakage Period, which

he concludes renders Fischel’s estimation of inflation based on the leakage model “unreliable,” is

classic ipse dixit that must be excluded. Indeed, following Cornell’s deposition, defendants

abandoned Cornell’s analysis of the only two instances of supposedly “firm-specific, nonfraud

information” identified in his report, leaving only Cornell’s unsupported conclusion which he

concedes is based entirely on Ferrell’s work. But the law in Seventh Circuit is clear: an expert may
not serve as the “mouthpiece” of another expert, which is exactly what Cornell attempts to do here.

See Dura Auto. Sys. of Indiana, Inc. v. CTS Corp., 285 F.3d 609, 613-14 (7th Cir. 2002).

Accordingly, Cornell’s opinion must be excluded.

        Sixth, all three of defendants’ experts should be precluded from offering expert testimony at
trial on those issues which they inappropriately raised for the first time in their rebuttal reports.

Although it is well settled that an expert rebuttal report is only permitted to “contradict, impeach or

defuse the impact of evidence” disclosed in an adverse expert’s report, the rebuttal reports of Ferrell,

James and Cornell are replete with opinions that they easily could have, and should have, raised in

their initial reports. As an example, on rebuttal Ferrell proposes an “alternative” quantifications of

inflation, opining that damages in this action are a maximum of $4.19 per share – the very first time

defendants have proffered an inflation figure in fourteen years of litigation. James and Cornell also
advance new opinions on rebuttal that should have been raised initially, such as James’ attack on

Fischel’s 228-trading day leakage window and Cornell’s criticism that Fischel’s reliance on his

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article with Morgan is misplaced because it was authored prior to the Supreme Court’s 2005 decision

in Dura Pharmaceuticals and the 1995 enactment of the PSLRA. These, and all other opinions

raised for the first time on rebuttal that do not “contradict, impeach or defuse the impact” of

Fischel’s opinions in the preceding expert report.

        Finally, if defendants’ experts are not excluded on the grounds discussed supra, defendants
should be precluded from putting on needlessly cumulative expert testimony at trial. Although

defendants have previously claimed that three experts are required to respond to the purportedly

“distinct issues” raised in Fischel’s prior trial testimony and supplemental reports (see, e.g., Dkt. No.

2072 at 8), all three experts offer the same opinion: they claim Fischel’s quantification including

leakage does not reliably estimate damages. The cumulative, overlapping and often identical expert

testimony, as shown in the attached table, demonstrates that defendants are improperly attempting to

“outnumber” Fischel. See Ex. 1 to the Declaration of Daniel S. Drosman in Support of Plaintiffs’

Omnibus Motion to Exclude Defendants’ Experts (“Drosman Decl.”). Defendants should not be

permitted to parade three separate experts in front of the jury, and their decision to use just one loss

causation expert at the last trial confirms that the purportedly “distinct issues” Fischel raises can be

addressed by a single loss causation expert at trial.
        By retaining three new experts to criticize Fischel’s quantification including leakage,

defendants clearly sought a second, third and fourth bite at the apple. But defendants have failed to

meet their burden of establishing the admissibility of their experts’ opinions. For the reasons set

forth below, this Court should exercise its gatekeeping responsibilities and preclude defendants’

experts from testifying at trial.

II.     DEFENDANTS’ EXPERTS SHOULD BE PRECLUDED FROM
        TESTIFYING AT TRIAL

        A.      Standard for Admissibility of Expert Testimony
        The Federal Rules set high standards for expert testimony, and for good reason. An expert

can hold considerable sway over a jury, and an unreliable expert can undermine the “integrity of the

judicial process.” See Loeffel Steel Products, Inc. v. Delta Brands, Inc., 387 F. Supp. 2d 794, 800

(N.D. Ill. 2005). For that reason, the admissibility of expert testimony under Federal Rule of
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Evidence 702 is a three-step process. Ervin v. Johnson & Johnson, Inc., 492 F.3d 901, 904 (7th Cir.

2007). Not only must the expert be qualified to render his opinions, his methodology and the data

relied upon must be reliable, and the testimony must assist the trier of fact to understand the

evidence and determine a fact in issue. Id. The Seventh Circuit has underscored “how vital it is that

judges not be deceived by the assertions of experts who offer credentials rather than analysis.” See

Minasian v. Standard Chartered Bank, PLC, 109 F.3d 1212, 1216 (7th Cir. 1997). Even a

“supremely qualified expert cannot waltz into the courtroom and render opinions unless those

opinions are based upon some recognized scientific method and are reliable and relevant under the

test set forth by the Supreme Court in Daubert.” See Clark v. Takata Corp., 192 F.3d 750, 759 n.5

(7th Cir. 1999). The proponent of the expert testimony – here, defendants – bears the burden of

demonstrating that it satisfies the Daubert standard. Daubert, 509 U.S. at 592; Kumho Tire Co. v.

Carmichael, 526 U.S. 137, 147 (1999). In short, the trial court is vested with the responsibility to act

as a gatekeeper to ensure that the testimony is both relevant and reliable.

        Even if expert testimony is otherwise admissible, it is nonetheless improper if it would

confuse the jury, as even relevant evidence will be excluded if its probative value is outweighed by

the danger of unfair prejudice, confusion of the issues, or misleading the jury, or by considerations of

undue delay, waste of time, or needless presentation of cumulative evidence. Fed. R. Evid. 403;

Thompson v. City of Chicago, 472 F.3d 444, 457-58 (7th Cir. 2006).

        Defendants failed to meet their burden. As a result, the testimony of Ferrell, James and

Cornell should be excluded.

        B.     Ferrell and James Should Not Be Allowed to Testify at Trial About
               the Factors They Incorrectly Characterize as Company-Specific,
               Nonfraud-Related Information

               1.      Ferrell and James Did Not Identify Any Significant Negative
                       Company-Specific, Nonfraud Information
        Ferrell and James should be precluded from offering expert testimony at trial about the

disclosures they characterize as “firm-specific and unrelated to fraud,” or opining that those

disclosures distorted Fischel’s leakage and specific disclosures models. This testimony is unhelpful,

unreliable and would mislead the jury because, as this Court concluded, defendants’ experts failed to
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identify “‘significant, firm-specific, nonfraud related information that could have affected

[Household’s] stock price.’” 2/1/16 Order at 3.1

        Ferrell and James seek to testify at trial that there are “numerous examples of significant

firm-specific, nonfraud information” that could have affected the price of Household stock, and

which Fischel’s leakage model purportedly failed to take into account.2 See, e.g., Ferrell Report,

¶¶15, 33, 56 (Dkt. No. 2060-3); James Report, ¶11 (Dkt. No. 2060-4). To reach this conclusion,

Ferrell and James contorted the definition of “firm-specific, nonfraud factors” to include

“information that impacts narrower segments of the financial services industry important to

Household and that is not captured by Fischel’s industry index” in addition to “factors specific to
Household alone.” Ferrell Report, ¶28; see also James Rebuttal Report, ¶3 (Dkt. No. 2074-4)

(defining firm-specific, nonfraud factors as those that “may have disproportionately affected

Household relative to indices such as the S&P 500 Index or the S&P Financials Index”). Using this

incorrect definition, Ferrell and James then identified six categories of disclosures they claim are

firm-specific, nonfraud and that Fischel failed to take into account: (1) Household’s liquidity, access

to capital markets, and widening bond spreads; (2) credit quality; (3) increased capital requirements

for subprime lending institutions; (4) concerns regarding future regulatory and legislative changes;

(5) matters specific to Household’s auto and credit services business lines; and (6) the

disproportionate impact of the double-dip recession on subprime lenders. See 2/1/16 Order at 6, 14;

Ferrell Report, ¶¶44-54; James Report, ¶¶24-57; Dkt. No. 2059 at 20-21.

        After analyzing each of the six categories of disclosures, this Court held that “defendants

have not identified ‘significant, firm-specific, nonfraud related information that could have affected

[Household’s] stock price.’” 2/1/16 Order at 22. To begin, this Court acknowledged the Seventh

Circuit’s holding that ‘“Fischel’s models controlled for market and industry factors and general

trends in the economy.’” 2/1/16 Order at 3 (quoting Glickenhaus, 787 F.3d at 421). With respect to


1
    Here, as elsewhere, unless noted otherwise, citations are omitted and emphasis is added.
2
     As set forth below in §IV, defendants should also be precluded from putting on cumulative expert
testimony.

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“disclosures regarding ‘Household’s liquidity, access to capital markets, and widening bond

spreads’” and its “credit quality” (see, e.g., Ferrell Report, ¶¶47, 49), this Court concluded that both

the defendants and market analysts attributed these issues to the alleged fraud “(Household’s reaging

and predatory lending practices and the restatement of its earnings) and/or the state of the economy

or industry.” See 2/1/16 Order at 6-14; see also Fischel Second Rebuttal Report, ¶13 (Dkt. No.

2067-1) (issues regarding credit quality were due to reaging while widening bond spreads were

attributed to Household’s predatory lending practices).3 The remaining supposedly company-

specific, nonfraud categories of disclosures Ferrell and James identified “are also industry wide,

related to fraud and/or dismissed as concerns by both analysts and Household management.” 2/1/16

Order at 14-22. Thus, in assessing whether defendants sufficiently “shoulder[ed] the burden of

identifying some significant, firm-specific, nonfraud related information that could have affected

[Household’s] stock price” Glickenhaus, 787 F.3d at 422, this Court determined that “the categories

of disclosures that defendants characterize as firm-specific and unrelated to fraud are neither.”
2/1/16 Order at 6-7, 14; Glickenhaus, 787 F.3d at 419 (requiring defendants to provide “significant

negative information about Household unrelated to these corrective disclosures (and not attributable

to market or industry trends)).”

        In light of this Court’s ruling, Ferrell and James should be precluded from testifying at trial

about the disclosures they contend are company-specific and nonfraud-related, or asserting that such

disclosures impacted Fischel’s inflation quantifications, because that testimony would mislead and

confuse the jury. See, e.g., Ferrell Report, ¶¶33-55; James Report, ¶¶11, 24-57. This Court’s

holding establishes that Ferrell’s and James’ opinions would be entirely unhelpful to the jury

because their testimony does not relate to, and is not probative of, whether company-specific,
nonfraud information distorted Fischel’s models. Daubert, 509 U.S. at 587 (defining “‘relevant

evidence’” as that which has “‘any tendency to make the existence of any fact that is of consequence
3
     Accord Glickenhaus, 787 F.3d at 413 (observing that the “company’s growth was driven by predatory
lending practices. This in turn increased the delinquency rate of Household’s loan, which the executives then
tried to mask with creative accounting. Their technique was to ‘re-age’ delinquent loans to distort a popular
metric that investors use to gauge the quality of loan portfolios: the percentage of loans that are two or more
months delinquent”).

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to the determination of the action more probable or less probable than it would be without the

evidence’”) (citing Fed. R. Evid. 401). Instead, testimony by Ferrell and James regarding these

categories of disclosures – disclosures that this Court has said were neither nonfraud nor company-

specific – runs the very real danger of misleading the jury. Because Ferrell’s and James’ opinions do

not meet the requirement of Rule 702 that expert testimony “help the trier of fact to understand the

evidence or to determine a fact in issue,” their opinions should be excluded at trial. United States v.

Martoma, 993 F. Supp. 2d 452, 457-59 (S.D.N.Y. 2014) (excluding the defendants’ proposed loss

causation expert testimony that was not probative on the central question of materiality).4

        Even if admissible under Federal Rule of Evidence 702, Ferrell’s and James’ testimony

concerning the six categories of disclosures should be excluded under Federal Rule of Evidence 403

because any probative value is outweighed by the danger of misleading the jury or confusing the

issues. In Daubert, the Supreme Court cautioned that judges assessing the admissibility of expert

testimony under Rule 702 “should also be mindful of other applicable rules,” such as Rule 403.

Daubert, 509 U.S. at 595. Because “‘[e]xpert evidence can be both powerful and quite misleading

. . . the judge in weighing possible prejudice against probative force under Rule 403 . . . exercises

more control over experts than over lay witnesses.’” Id. Thus, testimony that will confuse the issues

or mislead the jury, even if relevant, must be excluded. See Fed. R. Evid. 403; Thompson, 472 F.3d

at 456 (observing that the district court has discretion to exclude expert evidence under Rule 403).

        As the Seventh Circuit found, “Fischel’s models controlled for market and industry factors

and general trends in the economy – the regression analysis took care of that.” Glickenhaus, 787

F.3d at 421.       Thus, if Ferrell and James were permitted to testify about the “numerous”
4
     See also United States v. Wintermute, 443 F.3d 993, 1001 (8th Cir. 2001) (excluding expert testimony that
would result in “misconstruing the legal question at issue [because such] testimony [would] not [be] relevant”
and thus, “would have served to confuse rather than assist the jury in the jury’s attempt to understand the
evidence on this issue”); Fairley v. Andrews, No. 03 C 5207, 2011 WL 2142800, at *4 (N.D. Ill. May 31,
2011) (excluding testimony of expert witness on the grounds that the “factual link” between the testimony and
the remaining issues in the lawsuit was “tenuous at best”); George v. Kraft Foods Global, Inc., 800 F. Supp.
2d 928, 934 (N.D. Ill. 2011) (finding that expert’s opinion, to the extent it sought to establish liability for non-
actionable breaches of fiduciary duty, was irrelevant and inadmissible in light of court’s prior ruling that any
alleged breach of fiduciary duty was time-barred); McCauley v. Nucor Corp., No. 1:05-cv-00424-TAB-RLY,
2007 WL 2316463, at *7 (S.D. Ind. Aug. 10, 2007) (excluding expert opinion where the court had already
ruled on the issue the expert intended to opine on).

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macroeconomic and industry-related disclosures in their reports, the jury would be confused or

misled into believing that these disclosures could have distorted Fischel’s models despite this

Court’s determination that these disclosures “are neither” company-specific nor related to the fraud.

2/1/16 Order at 6. Accordingly, this Court should exclude Ferrell’s and James’ testimony

concerning nonfraud factors in order to protect the jury from unreliable and irrelevant testimony that

might infect their decision-making.

                 2.       Ferrell’s and James’ Opinions About Supposed Company-
                          Specific, Nonfraud Information are Impermissibly Speculative
                          and Unreliable
        Ferrell’s and James’ opinions should also be excluded because they are impermissibly

speculative. “Even where a witness is an expert in the relevant field, the evidentiary reliability

demanded by Daubert is not present when his or her opinion is speculative.” Sys. Dev. Integration,

LLC v. Computer Scis. Corp., 886 F. Supp. 2d 873, 880 (N.D. Ill. 2012); see also Brown v.

Burlington Northern Santa Fe Ry. Co., No. 09-1380, 2013 WL 1729046, at *8, *11 (C.D. Ill.

Apr. 22, 2013) (“Speculative opinions are not admissible.”). Ferrell and James both opine that firm-

specific, nonfraud-related information may have or could have contributed to Household’s stock
price decline on various days during the Leakage Period. See, e.g., Ferrell Depo. Tr. at 293:23-

294:4, Drosman Decl., Ex. 2 (“Q. You found that there were firm-specific non-fraud disclosures on

this date that contributed to the decline, correct? A. . . . in this report, my initial report, I said may

have.”);5 James Report, ¶58 (“I have found numerous types of nonfraud information . . . that could
have affected . . . the stock price of Household.”).6 Neither expert conducts any quantitative analysis

5
    See also Ferrell Report, ¶56 (“I will provide numerous examples of significant firm-specific, nonfraud
information that could have affected Household’s stock price”); id., ¶¶62-63 (identified information may have
contributed to Household’s stock price decline); id., ¶¶64, 66, 71, 74, 79, 81-82, 84, 88, 90, 93, 96, 100, 102-
195 (same).
6
      See also James Rebuttal Report, ¶25 (“what the regression model measures as ‘firm-specific’ returns on
each day may in fact include the effect of market and industry events”); id., ¶28 (“the sensitivity coefficient of
Household to its industry peers measured over a control period like Fischel’s, which includes announcement
as well as non-announcement days, may understate Household’s sensitivity to its peers on announcement
days”); id., ¶28 (“As such, Household’s estimated ‘firm-specific’ return may include the effect of industry
news not captured by the regression model on peer announcement days”); id., ¶30 (“analysis of the stock price
responses of Household and the Subprime Lenders relative to that of Fischel’s broad S&P Financials Index
. . . also support the observation that such news may have disproportionately affected Household and the
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to support these opinions in their initial reports, or assesses the likelihood that any particular

information they identify did or did not contribute to Household’s stock price decline.7 Such

testimony is far too speculative to satisfy Daubert’s reliability threshold or to be helpful to the jury.

See Mason v. City of Chicago, 631 F. Supp. 2d 1052, 1060 (N.D. Ill. 2009) (expert testimony that

plaintiff “may have” been affected by drugs “purely speculative” and so inadmissible); Witners v.

Aurora Foods, Inc., No. 405-CJP, 2003 WL 25764893, at *3-*4 (S.D. Ill. Sept. 2, 2003) (where

expert merely speculated as to what the result of the relevant analysis would have been, without

conducting any analysis himself, his opinion was too speculative to be admitted).

                 3.       Ferrell’s and James’ Opinions Should Be Excluded Because
                          They Contradict the Record Evidence
        Ferrell’s and James’ opinions that certain factors and disclosures were firm-specific and

unrelated to the fraud are unreliable and should be excluded for the additional reason that they are

contradicted by the overwhelming evidence in this case, including “e-mails and reports from

Household’s executives attributing the entirety of the stock’s decline to the fraud-related

disclosures” along with “various reports from market analysts primarily focused on this

information.” Glickenhaus, 787 F.3d at 420; see also 2/1/16 Order at 6-22 (describing evidence that

contradicts Ferrell’s and James’ opinions that certain disclosures were company-specific and

unrelated to the fraud); Plaintiffs’ Trial Exs. 198-199, 820, 201-202, 1156, Drosman Decl., Exs. 3-8.8

Notwithstanding the evidence presented to the jury, including the testimony of defendants, and the
Seventh Circuit’s findings, Ferrell and James offer expert opinions that contradict or wholly ignore

the evidence in this case.


Subprime Lenders”); id., ¶32 (“Because the estimated ‘firm-specific’ return may reflect the effect of market
and industry news, it is important to review the market and industry news . . . to determine whether that
market and industry news may have contributed to the estimated firm-specific return on a given day.”).
7
     As explained in §III, infra, to the extent that Ferrell and James purport to belatedly provide more concrete
opinions in their rebuttal reports, such opinions are inadmissible and fail to cure the speculative nature of their
initial opinions. See Ferrell Depo. Tr. at 293:23-294:4; James Depo. Tr. at 15:5-13, Drosman Decl., Ex. 9.
8
    “[O]ther evidence loosely corroborates the inflation figure produced by the leakage model ($23.94). For
example, when Household embarked on its aggressive growth strategy” defendant Gilmer “suggested that the
stock price could increase by ‘over 22 dollars a share.’” Glickenhaus, 787 F.3d at 420.

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        For example, both Ferrell and James opine that regulatory actions were not related to the

fraud and “may have” negatively impacted Household’s stock price during the Leakage Period (see,

e.g., Ferrell Report, ¶¶50-55, James Report, ¶¶44, 48, 53-55), but the regulatory actions were related

to the fraud since they were designed to prevent predatory lending – the very activity Household was

engaged in but concealed from investors. In addition, defendant Aldinger specifically denied that

regulatory actions had any effect on Household’s business. See Fischel Second Rebuttal Report, Ex.

7 at 8 (“the impact on us of those changed laws has been virtually nill (sic) or minimal . . . we don’t

think that it’s going to impact our model”). Moreover, although both Ferrell and James contend that

concerns about the new FFIEC guidelines had an adverse effect on Household’s stock price (Ferrell

Report, ¶51, James Report, ¶55), at the first trial defendants sought to establish that the FFIEC rules

did not apply to Household.9 Expert testimony that is contradicted by the evidence, like the opinions
offered by Ferrell and James here, is unreliable and inadmissible. See In re Longtop Fin. Techs. Sec.

Litig., 32 F. Supp. 3d 453, 462 (S.D.N.Y. 2014) (excluding as “inherently unreliable” expert

testimony that was directly contradicted by record evidence); Fed. R. Evid. 702(b) (requiring that

expert testimony be based on sufficient facts and data); Barber v. United Airlines, Inc., 17 Fed.

Appx. 433, 441 (7th Cir. 2001) (affirming exclusion of expert witness that ignored certain facts and

data); Lava Trading, Inc. v. Hartford Fire Ins. Co., 03 CIV 7037 (PKC)(MHD), 2005 U.S. Dist.

LEXIS 4566, at *62 (S.D.N.Y. Feb. 14, 2005) (excluding expert whose analysis was premised “on a

number of crucial factual assumptions that are dramatically belied by the record before us”).

        This Court should exercise its gatekeeping function and preclude Ferrell and James from

opining at trial that any of the disclosures they identify are company-specific nonfraud related, or

that those disclosures impacted Fischel’s models, as such testimony is unhelpful, unreliable,

speculative, and could mislead the jury.

9
     See, e.g., Trial Tr. at 3242:17-24 (testifying that the FFIEC rules applied to Wells Fargo); Trial Tr. at
1276:12-21 (testimony by defendant Gilmer that the FFIEC did not apply to Household, which purportedly
gave Household “greater flexibility in some area[s] than the banks”); Trial Tr. at 2560:20-2561:14 (using
leading questions to elicit testimony on cross examination from plaintiffs’ accounting expert that Household
was not governed by the FFIEC rules). (Trial transcript excerpts referenced throughout are attached as Ex. 10
to the Drosman Decl.)

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        C.     Ferrell’s Failure to Consider the Underlying Fraud Compounded by
               Defendants’ Discovery Violations Warrants Exclusion
        Ferrell purports to opine on “whether there was ‘some significant firm-specific, nonfraud

related information that could have affected [Household’s] stock price.’” Ferrell Report, ¶14;
Ferrell Rebuttal Report, ¶9 (Dkt. No. 2074-3). Ferrell concedes that “in order to determine whether
something is fraud-related or not, one has to understand the fraud.” Id. at 162:3-6. Nevertheless,

Ferrell failed to explain what information he believes is fraud-related in either of his reports, and he

and defendants actively frustrated any attempt to explore his views on the topic at Ferrell’s

deposition.

        Q. Why are you so reluctant to say whether this is fraud-related information or not?

        A. Because I wasn’t asked to opine on what the fraud was. I was – I’m assuming the
        – the misrepresentations in the jury verdict, without opining on it. So that was my
        hesitation, is not to be viewed as providing an opinion on what – on what the fraud
        actually is, if there is any, rather than just noting – merely noting what’s on the jury
        verdict, without providing an opinion on that.

Ferrell Depo. Tr. at 161:15-162:1; see also id. at 186:2-12 (evading question as to whether he made

judgments about whether disclosures were fraud-related); id. at 190:6-191:10 (failing to identify

where he had defined “nonfraud-related” in either of his reports). Ferrell’s failure to consider a key

component underlying his proffered opinions warrants his exclusion from trial.

        Apparently, defendants’ hope is to try this case in a sanitized forum – where the scope of the

trial is improperly limited simply to a battle of experts who will opine on loss causation and damages
without any reference to the fraud itself. As part of this strategy, defendants directed Ferrell not to

review the evidence – both trial testimony and exhibits – of the fraud. As defense counsel said at

Ferrell’s deposition, “he’s not here to testify as to whether the fraud happened or didn’t happen or

how it happened.” Ferrell Depo. Tr. at 150:17-19. In doing so, defendants devised an unworkable

game plan – Ferrell can’t or won’t describe the fraud in this case, which renders his opinion that

certain information is unrelated to the fraud utterly unreliable. Defendants compounded their flawed

strategy by directing Ferrell not to answer questions about the fraud in violation of Rule 30(c).

Defendants’ interference with plaintiffs’ attempts to examine Ferrell about the fraud also warrants


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exclusion. See Fed. R. Civ. P. 30(d)(2) (“The court may impose an appropriate sanction . . . on a

person who impedes, delays, or frustrates the fair examination of the deponent.”).

        During Ferrell’s deposition, defense counsel improperly instructed Ferrell not to answer

questions concerning the Seventh Circuit’s summary of the trial evidence in this action more than

twenty times. See Ferrell Depo. Tr. at 69:14-77:25; 38:3-39:10. Counsel’s sole justification for the
instructions was that the questions were outside the scope of Ferrell’s assignment in this case. See,

e.g., id. at 69:21-70:5, 71:7-14. Ferrell followed defense counsel’s instructions in each instance,

refusing to answer the questions, notwithstanding the fact that Ferrell relied on the Opinion to form

his own opinions and cited it repeatedly throughout his reports. Id. Counsel’s and Ferrell’s conduct

was highly inappropriate and warrants exclusion.

        Rule 30(c)(2) states that “[a] person may instruct a deponent not to answer only when
necessary to preserve a privilege, to enforce a limitation ordered by the court, or to present a motion

under Rule 30(d)(3).” As the Seventh Circuit has repeatedly held, an instruction not to answer for

any purpose other than those set forth in Rule 30(c)(2) is impermissible and serves only to obstruct
proper discovery. See Redwood v. Dobson, 476 F.3d 462, 467-68 (7th Cir. 2007). Indeed, as Judge

Easterbrook wrote, even in a case (unlike this one) where the questions were so harassing that the

deponent “would have been entitled to stalk out of the room,” end the deposition, and seek sanctions,

counsel’s instruction not to answer “was untenable as no claim of privilege had been advanced.”
Redwood, 476 F.3d at 468; see also LM Insurance Corp. v. ACEO, Inc., 275 F.R.D. 490, 491 (N.D.

Ill. 2011) (absent a claim of privilege, instructing a witness not to answer deposition questions

through either explicit instruction or coaching is improper); Medline Indus. v. Sullivan, No. 08-C-

5867, 2009 U.S. Dist. LEXIS 93970, at *5-*6 (N.D. Ill. Oct. 6, 2009) (relevance not proper grounds

for instruction not to answer); Hulsey v. HomeTeam Pest Def. LLC, No. 2:10-cv-03265-DCN, 2012

WL 1533759, at *1 (D.S.C. May 1, 2012) (instruction not to answer questions purportedly outside

the scope of the expert’s report unacceptable).

        Defense counsel’s underlying objection – that plaintiffs’ questions about the Seventh

Circuit’s factual findings were outside the scope of his assignment – is meritless. Ferrell identified

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the Seventh Circuit Opinion as one of the materials he relied on in deriving the opinions in both his

initial and rebuttal reports. Ferrell Report, Appx. B; Ferrell Rebuttal Report, Appx. B (Dkt. No.

2074-3). In the body of his reports, Ferrell cited the Seventh Circuit Opinion approximately thirty

times – by far his most-cited reference, other than Fischel’s report. Furthermore, the Seventh
Circuit’s findings are the law of this case. See Benuzzi v. Bd. of Educ., 119 F. Supp. 3d 917, 923-24

(N.D. Ill. 2015) (when a court of appeals has reversed a final judgment and remanded the case, the

express or implied rulings of the appellate court become the law of the case). It is entirely within the

scope of an expert deposition to seek discovery regarding the expert’s underlying assumptions, facts

and methodology that led him to reach his conclusions – indeed, an expert is required to provide that

information before his testimony can be admitted. See, e.g., Ciomber v. Coop. Plus, Inc., 527 F.3d

635, 641 (7th Cir. 2008). See also Medline, 2009 U.S. Dist. LEXIS 93970, at *11 (instructions not

to answer wholly unsupported where disputed questions related to issues that were subject of the

case).

         The questions Ferrell refused to answer bear directly on the details, scope and impact of

defendants’ fraud. Ferrell Depo. Tr. at 72:3-76:6. For example, Ferrell refused to answer questions

concerning whether he agreed, disagreed, or even understood the Seventh Circuit’s findings that:

               “In 1999, company executives implemented an aggressive growth strategy in pursuit
                of a higher stock price.” (Tr. at 69:14-72:1)

               “Over the next two years, the stock price rose dramatically but the company’s growth
                was driven by predatory lending practices.” (Tr. at 72:2-12)

               “This, in turn, increased the delinquency rate of Household’s loans, which the
                executives then tried to mask with creative accounting.” (Tr. at 72:14-73:18)

               “[Defendants’] technique was to reage delinquent loans to distort a popular metric
                that investors use to gauge the quality of loan portfolios, the percentage of loans that
                are two or more months delinquent.” (Tr. at 73:20-75:3)

               “Household also improperly recorded the revenue from four credit card agreements
                that would ultimately issue corrections in August 2002.” (Tr. at 75:5-76:6)

         These questions were designed to explore whether Ferrell – who purports to opine about

whether information is related to defendants’ fraud – understood the nature of defendants’ fraud, and

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whether, how and why Ferrell’s assumptions departed from the Seventh Circuit’s findings, which are

the law of the case. The second, third and fourth points above are quoted in Fischel’s Second

Rebuttal Report as support for his opinion that Ferrell and James had failed to establish that

Household’s supposedly deteriorating credit quality was not fraud-related. Fischel Second Rebuttal,

¶15 n.21. Although Ferrell’s assignment was to respond to Fischel, he would not even answer

whether he understood what those findings meant. Ferrell Depo. Tr. at 73:14-73:18. All of

plaintiffs’ questions are germane to Ferrell’s analysis of whether Fischel properly accounted for

nonfraud-related information. Indeed, Ferrell conceded as much. See Ferrell Depo. Tr. at 61:11-12

(“Again, what’s important for me and my scope is what constitutes the fraud.”). Plaintiffs’ questions

could hardly have fallen more squarely within the scope of the deposition.
        Each of the 20-plus instructions not to answer, and Ferrell’s decision to comply with those

directives, was a violation of the Federal Rules of Civil Procedure and frustrated plaintiffs’ ability to

examine Ferrell about his opinions and the foundation for them. If defendants did not understand the

impropriety of their instructions, plaintiffs’ counsel reminded them that the Seventh Circuit’s

Opinion is “one of [Ferrell’s] reliance materials,” that plaintiffs were “entitled to examine him on it,”

and that it was “completely inappropriate to instruct him not to answer.” Ferrell Depo. Tr. at 70:18-

20; 71:15-17.10 Nevertheless, defendants’ counsel simply would not allow Ferrell to answer

plaintiffs’ questions because he could not adequately respond. In fact, Ferrell admitted later in his
deposition that he had no idea why the 17 statements and omissions at issue in the case were false

and misleading:

        Q. And, in addition, the defendants in this case falsely denied that they were
        engaged in predatory lending throughout the leakage period, didn’t they?

        [Defendants’ Counsel]: Objection. He’s not here as a fact witness. Whatever the
        Seventh Circuit found or whatever the jury found, it is what it is. He’s not here to
        testify that it did or did not happen.

10
    At defendants’ request, plaintiffs agreed to take Ferrell’s deposition on a Saturday to accommodate
Ferrell’s schedule; thus, plaintiffs were unable to seek the Court’s intervention during the deposition. At
subsequent depositions taken on weekdays, defense counsel were not as brazen in their disregard for the
Rules. See, e.g., Cornell Depo. Tr. at 162:12-163:19; 176:18-177:1 (allowing Cornell to respond to questions
about the Seventh Circuit Opinion), Drosman Decl., Ex. 11.

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        A. I don’t have a view on what constituted the misrepresentations beyond noting
        what’s on the jury verdict form.
Ferrell Depo. at 147:21-148:7.

        And defendants’ instructions not to answer were not just an error in judgment. Despite the

clear mandate of Fed. R. Civ. P. 30(c), during the parties’ Local Rule 37.2 meet-and-confer,

defendants maintained that their instructions not to answer were proper. In short, defendants made a
tactical decision to prevent Ferrell from answering questions about defendants’ fraudulent conduct –

while simultaneously offering him as an expert on what was (or was not) fraud-related. Defendants

must now live with the consequences of this failed strategy. Ferrell’s testimony should be excluded.

Nunez v. BNSF Ry. Co., No. 09-4037, 2012 WL 2874059, at *4 (C.D. Ill. July 13, 2012) (“An expert

may not simply ignore evidence that does not support his opinion.”) (citing Barber v. United

Airlines, Inc., 17 Fed. Appx. 433 (7th Cir. 2001)).

        Further, when permitted to answer, Ferrell obstructed Plaintiffs’ discovery by repeatedly

providing evasive, purposely unresponsive answers to numerous deposition questions. Ferrell used

this tactic to avoid answering factual questions about whether he agreed that there was fraud-related

information that leaked into the market during the Leakage Period. Ferrell Depo. Tr. at 148:9-

155:16. In responding, Ferrell repeatedly grafted onto the question a requirement that such

information cause a residual stock-price decline which is exactly what is not required for leakage.

Id. Ferrell likewise evaded over a dozen questions as to whether he considered particular pieces of

information “fraud-related.” 11 See Ferrell Depo. Tr. at 160:6-161:13; 162:7-25; 174:6-179:15;
181:10-20; 183:5-16; 183:24-184:14; 185:18-23; 186:17-187:1; 198:13-23; 200:4-18; 300:18-25.

Ferrell’s refusal to answer these questions as posed is not surprising – there are reams of fraud-

related disclosures during the Leakage Period, but admitting this fact undercuts Ferrell’s opinion that

there is no basis for Fischel’s leakage analysis. However, Ferrell is not entitled to change the

question simply because answering the one asked would be harmful. His refusal to identify

information that entered the market as fraud-related – including information that he had voluntarily
11
   Counsel encouraged Ferrell’s evasive behavior. See, e.g., Ferrell Depo. Tr. at 150:11-25; 153:19-24;
154:12-18; 138:22-139:9; 142:23-143:8.

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included in his report (see, e.g., id. at 301:3-16) – disqualifies him from opining on loss causation

issues.

          Although courts can impose less drastic sanctions, such as allowing a renewed deposition,

that remedy is insufficient in this case. A renewed deposition would only allow defendants to revise

their failed strategy, instruct Ferrell to learn about the fraud, and script his answers. See Virnetx Inc.

v. Cisco Systems, Inc., No. 10-CV-417, 2012 WL 7997962, at *4 (E.D. Tex. Aug. 8, 2012)

(concluding that the defendants’ lawyer’s obstructive conduct at the deposition “was to provide an

opportunity to ‘woodshed’ the witness, rather than to protect the witness from any unfair conduct or

questioning by opposing counsel”). Thus, “the damage cannot fairly be undone simply by sending

plaintiffs back to the drawing board,” and an alternative sanction – preclusion – is warranted.

Wilson v. Sundstrand Corp., No. 99 C 6944, 2003 WL 21961359, at *14 (N.D. Ill. Aug. 18, 2003)

(deeming critical evidence admitted because of improper interference with deposition). Otherwise,

defendants “would have accomplished what [they] conceivably wanted – disruption of the deposition

and an opportunity to visit with the witness regarding his testimony.” Virnetx, 2012 WL 7997962, at

*5. In short, “[w]hen one side impedes the other side’s access to relevant evidence, as [defendants

have] done here, it must lie in the bed it has made.” Wilson, 2003 WL 21961359, at *14.

          In this instance, Ferrell’s failure to consider the underlying fraud renders his opinions

unreliable, defense counsel’s and Ferrell’s conduct was improper throughout the deposition, and

defendants never moved for a protective order. Plaintiffs have been significantly prejudiced by the

denial of necessary discovery, and defendants would gain a significant advantage by the imposition

of a lesser sanction. Thus, excluding Ferrell is the only sanction proportionate to the discovery
abuse and sufficient to deter future unprofessional conduct. See Houston v. Hyatt Regency

Indianapolis, 302 F.R.D. 268, 281 (S.D. Ind. 2014) (appropriate discovery sanctions should serve

both to penalize and deter).




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        D.      Ferrell Should Be Excluded for Violating Fed. R. Civ. P. 26(a)(2) by
                Failing to Disclose the Basis and Reasons for Certain Opinions and
                the Facts and Data He Considered
        Ferrell should also be excluded as a sanction for violations of Rule 26(a)(2). He did so by
failing to disclose the “basis and reasons” and the “facts or data [he] considered” in selecting the

companies listed in the CSFB Specialty Finance Universe to create his own peer index, a decision

critical to most of his opinions. Ferrell’s omission of this information from his reports – even after

Fischel criticized Ferrell’s peer index selection – violated Fed. R. Civ. P. 26(a)(2). See Fed. R. Civ.

P. 26(a)(2)(B)(i), (ii).

        Under Rule 26(a)(2), an expert witness is required to disclose “all opinions the witness will

express and the basis and reasons for them” along with “the facts or data considered by the witness

in forming” his opinions. Fed. R. Civ. P. 26(a)(2)(B)(i), (ii). Thus, expert reports “must include

‘how’ and ‘why’ the expert reached a particular result, not merely the expert’s conclusory opinions”

and what the expert “considered, read, thought about or relied upon in reaching the conclusions and

opinions contained within the report.” Salgado by Salgado v. GMC, 150 F.3d 735, 742 n.6 (7th Cir.

1998). The disclosure requirement of Rule 26(a)(2) was designed to avoid “ambush at trial,” (id.)

and a party that fails to provide the information required by the rule may be barred from using that

witness at trial. See Fed. R. Civ. P. 37(c)(1); Paramount Media Group, Inc. v. Village of Bellwood,
No. 13 C 3994, 2015 WL 5307483, at *5 n.4 (N.D. Ill. Sept. 10, 2015) (Alonso, J.). The sanction of
exclusion is “automatic and mandatory” unless the party to be sanctioned can show that its violation

was substantially justified or harmless. Novak v. Bd. of Trs., 777 F.3d 966, 973-74 (7th Cir. 2015)

(affirming exclusion of expert witnesses who failed to comply with Rule 26(a)(2)); NutraSweet Co.

v. X-L Eng’g Co., 227 F.3d 776, 785-86 (7th Cir. 2000) (same); Musser v. Gentiva Health Servs.,

356 F.3d 751, 758 (7th Cir. 2004) (observing that the formal requirements of Rule 26 are not

pointless).

        Ferrell relies on a peer index he created from the CSFB Specialty Finance Universe for his

opinion that firm-specific, nonfraud-related information could have affected Household’s stock price

during the Leakage Period. See, e.g., Ferrell Report, ¶42. This index is also critical to Ferrell’s

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“corrected” market model, from which he derives his alternative quantification of inflation. See

Ferrell Rebuttal Report, ¶75. Ferrell opines that his “corrected” market model “better explains

Household’s stock price movements” during the Leakage Period because it more appropriately

captures “the effects of macroeconomic conditions on consumer finance firms” than does the S&P

Financials Index alone. Ferrell Rebuttal Report, ¶62; Ferrell Depo. Tr. at 226:21-227:4.

        Noticeably absent from Ferrell’s two expert reports is any explanation as to how or why he
chose the CSFB Specialty Finance Universe to create his index, instead of different companies listed

in other analyst reports. At Ferrell’s deposition, when asked to explain the process for selecting the

CSFB Specialty Finance Universe, he revealed, for the very first time, that “consistent” with some

unspecified “academic literature,” he consulted “Institutional Investor” magazine (a publication that

supposedly “ranks” analysts), from which he identified the “star” analyst from 2001, an analyst from

CSFB. Ferrell Depo. Tr. at 227:8-228:11. After identifying the “star” analyst, “because presumably

the star analyst is the best analyst” (based on a single publication), he selected a single report from

that analyst which contains the CSFB Specialty Finance Universe companies.12 Ferrell Depo. Tr. at

231:23-232:14. According to Ferrell, “the academic literature regularly uses this source, the

‘Institutional Investor’ magazine, to identify star analysts” for some vague “analytical purposes.” Id.

at 228:5-229:4. When asked if he was stating that any of the undisclosed academic literature “refers

to star analysts’ selection of peer indices for experts, in cases like this one, to adopt a peer index,”
Ferrell responded, “[t]hat is not my testimony.” Id. at 230:21-24; see also id. at 231:13-22.

Inexplicably, as Ferrell admitted, his report does not discuss the “academic literature” or the

“Institutional Investor” magazine on which he purportedly relied in selecting the CSFB Specialty

Finance Universe companies, he did not disclose either among the materials he relied on in forming

his opinions, as Rule 26(a)(2)(B) requires, and during his deposition, he could not (or would not)

identify the “academic literature.” See Ferrell Report, Appendix B; Ferrell Rebuttal Report,


12
    The CSFB report from which Ferrell selected his index actually lists three analysts as the authors; Ferrell
did not specify which, of these three, is the “star” analyst. See Fischel Sur-Rebuttal Report, Ex. 1, Drosman
Decl., Ex. 12.

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Appendix B; Ferrell Depo. Tr. at 229:5-230:19 (confirming that he “did not cite the academic

articles” or Institutional Investor magazine).

        After realizing his error, Ferrell tried to walk back from his earlier testimony that he relied on

the “academic literature” in consulting “Institutional Investor” magazine, claiming instead that the

academic literature is merely “part of my background knowledge.” Ferrell Depo. Tr. at 230:25-

231:17. Ferrell’s attempt to back-pedal on his testimony should be rejected. See Paramount, 2015

WL 5307483, at *6 (“an expert cannot simply fall back on his experience when he acknowledges

that he relied on particular data in forming an opinion yet fails to disclose that information”). In any

event, Ferrell admits he also failed to disclose “Institutional Investor” magazine, thus, exclusion of

his testimony is “‘automatic and mandatory’” because, as discussed below, defendants cannot

demonstrate that Ferrell’s violation of Rule 26(a)(2) was justified or harmless. NutraSweet Co., 227

F.3d at 785-86.

        Ferrell’s failure to disclose this critical information was not substantially justified. Indeed,

Ferrell has served as an expert over a dozen times just in the last four years, and is clearly well aware

of Rule 26(a)(2)’s disclosure requirements. See Ferrell Report, Appendix A. As Ferrell testified, the

criteria he used to select the CSFB Specialty Finance Universe companies, “consistent with the

academic literature,” was the analyst ranking set forth in “Institutional Investor” magazine, which he

claims was “an objective way to identify comparables.” Ferrell Depo. Tr. at 227:8-228:11. Given

the self-proclaimed “importan[ce]” of the “academic literature” and “Institutional Investor”

magazine to Ferrell’s opinions, his wholesale failure to disclose these materials is inexcusable, and

defendants cannot provide any credible explanation for Ferrell’s failing. Id.

        Further, Ferrell’s noncompliance with Rule 26(a)(2) is not harmless, as the CSFB Specialty

Finance Universe he used to create his own index serves as the lynchpin of most of Ferrell’s

opinions. His creation of that index also raises a number of questions due to inconsistencies between

Ferrell’s choice of index and the indices used by other analysts, Household, defendants’ prior loss




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causation expert, Bajaj, and their current (cumulative) expert James.13 As Ferrell concedes, the nine

companies he selected were not a consumer peer group that was universal among analysts, and

Ferrell’s own report cites numerous analyst reports that used universes of “specialty finance”

companies other than the group set forth in the CSFB Specialty Finance Universe index.14 See

Ferrell Depo. Tr. at 239:24-240:13; Ferrell Depo. Exs. 11, 12, Drosman Decl., Exs. 14-15. Even in

the CSFB universe, Household is identified as a “Diversified Financial” company along with

American Express and CitiGroup, while the other seven companies are specifically classified by

CSFB as credit card or auto finance companies. See Fischel Sur-Rebuttal Report, Ex. 1 at 18,

Drosman Decl., Ex. 12. Moreover, Ferrell’s CSFB Specialty Finance Universe index is inconsistent

with the peer groups against which Household compared its own stock price performance, both

internally and in SEC filings, and conflicts with the indices used by defendants’ prior loss causation

expert, Bajaj, and their current (cumulative) expert, James.15 See Plaintiffs’ Trial Ex. 820; Ferrell


13
    As Ferrell’s own article confirms, “proper choice of an industry index” is an “important” issue “that must
be considered in undertaking a rigorous event study analysis.” See Ferrell Depo., Ex. 8 at 167, Drosman
Decl., Ex. 13. Ferrell’s own article claims that a proper peer group should be selected from either: (1) the
Company’s own public filings (such as Household’s proxy that identified the S&P Financials Index used by
Fischel); (2) equity analyst reports; and (3) constituents of a widely-used industry index (such as the S&P
Financials Index). Id. Indeed, Ferrell recognizes that, “[i]n selecting an appropriate industry index, it is
important to pay particular attention to which firms are truly ‘comparable’ in terms of their line of business
and hence should be included in the industry index.” See id.; see also Ferrell Depo. Tr. at 224:11-15. Failing
to heed his own advice, Ferrell employed a subjective, unscientific methodology in selecting the CSFB
Specialty Finance Universe index, as he conceded he is unaware of any instances in which “Institutional
Investor” magazine’s “Star Analyst” was used to identify a peer group for use in a regression analysis like the
one Ferrell conducts here. Ferrell Depo. Tr. at 231:13-22.
14
    For example, Ferrell cites a report titled, “CIBC World Markets Specialty Finance Universe Summary,”
dated October 3, 2002, which lists 22 companies in its specialty finance universe. Ferrell Depo. Ex. 11.
Household is listed as a diversified financial company. Ferrell Depo. Ex. 11, at 2. Ferrell also cites a January
2, 2002 AG Edwards report titled “Specialty Finance Quarterly Fourth Quarter 2001,” which identified 14
specialty finance companies, only five of which were in Ferrell’s peer group. Ferrell Depo. Ex. 12, at 4. And,
he cites a Fox-Pitt Kelton U.S. Specialty Finance report, dated May 31, 2002 with 12 companies, only five of
which overlap with Ferrell’s peer group.
15
    In internal company documents, Household compared its performance with a peer group consisting of
nine companies, only four of which appear in Ferrell’s CSFB Specialty Finance Universe index. See
Plaintiffs’ Trial Ex. 820; Ferrell Depo. Tr. at 251:13-253:9. In its SEC filings, Household identified the S&P
Financials Index as the appropriate industry index against which to compare the Company’s stock price
performance. Fischel Second Rebuttal Report, ¶10. Bajaj criticized Fischel’s use of the S&P Financials
Index and argued for the use of an alternative “Consumer Finance Index,” comprised of six companies
(excluding Household), only four of which appear on the CSFB Specialty Finance Universe index. See Bajaj
Report, Ex. 5, Drosman Decl., Ex. 16; Trial Tr. at 4138:15-4140:3; Ferrell Rebuttal Report, Ex. 6; Ferrell
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Depo. Tr. at 251:13-253:9; Fischel Second Rebuttal Report, ¶10; Bajaj Report, Ex. 5; Trial Tr. at

4138:15-4140:3; Ferrell Rebuttal Report, Ex. 6; Ferrell Depo. Tr. at 260:7-12.

        Given that Ferrell’s peer group diverges so completely from other peer groups, and given the

importance of the peer group to Ferrell’s opinions, the ability to effectively examine Ferrell on his

selection of the CSFB Specialty Finance Universe was imperative. “One of the primary goals of the

federal civil discovery rules and Rule 26(a) is to ‘eliminate surprise,’” yet this is exactly what

defendants have done here by sandbagging plaintiffs with additional “bas[es] and reasons” for

Ferrell’s opinions after the time to respond to those opinions has passed. Baker v. Indian Prairie

Community Unit, No. 96 C 3927, 1999 WL 988799, at *3 (N.D. Ill. Oct. 26, 1999) (preventing

plaintiffs from “ambush[ing]” defendants by striking untimely expert opinions and data). Because

Ferrell’s failure to comply with Rule 26(a)(2) was not substantially justified or harmless, this Court

should exclude him as a witness. Paramount, 2015 WL 5307483, at *5 (overruling objection to

Magistrate Judge’s order excluding plaintiff’s expert witness). At a minimum, Ferrell should not be

allowed to testify about any opinion or issue that refers to or relies upon the index he created from

the CSFB analyst report.

        E.      James Should Not be Allowed to Testify at Trial
        In rendering his opinion, Christopher James asserted for the first time in his rebuttal report

that the common stock price of five subprime lenders in the credit card and auto finance industry

declined in a similar fashion to Household during the Leakage Period. James Rebuttal Report, ¶¶12-

14. James then claims that this “comparison” somehow demonstrates that Household’s stock price

decline during the Leakage Period was not due to the fraud but rather resulted from company-

specific nonfraud information. Id., ¶9. Putting aside the obvious problem with his analysis – that

this opinion actually addresses macroeconomic and industry impacts, as opposed to company

specific information – James’ opinion should also be excluded because it is not tethered to any


Depo. Tr. at 260:7-12. James initially identified four firms (other than Household) in the consumer finance
subsector of the S&P Financials Index as similar to Household (James Report, Ex. 4), Drosman Decl., Ex. 17,
and then switched to a new group of five companies that only included two of his original four. James
Rebuttal Report, ¶13.

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accepted scientific methodology. James, like Bajaj at the first trial and Ferrell now, simply

cherrypicks a “peer” group for analytical purposes without any scientific approach. James then

compares Household to this peer group without applying any accepted methodology. His unreliable

opinion should, therefore, be excluded. Paramount Media Group, Inc. v. Vill. of Bellwood, No. 13 C

3994, 2015 WL 7008132, at *7 (N.D. Ill. Nov. 10, 2015) (failure of an expert to “explain his

methodology in any meaningful fashion leaves the court no choice” but to exclude his testimony).

        James, like Ferrell, claims that the S&P Financials Index is too broad and, therefore, Fischel

should not have used it to control for the effect of macroeconomic and regulatory changes on

Household’s industry. James Report, ¶¶11(b); 21-23; James Depo. Tr. at 118:12-119:13. In his

initial report, James suggested that the S&P Financials Index included only “a handful of companies

similar to Household as well as many others with different characteristics.” James Report, ¶21 and

Ex. 4 thereto. James identified the “handful” of similar companies as the consumer finance

subsector of the S&P Financials Index, which included Household, as well as MBNA Corp.,

American Express Co., Providian Financial Corp. and Capital One Financial Corp. James Report,

Ex. 4 n.3. Based on this assertion, James criticized Fischel’s decision to use the S&P Financials

Index as the appropriate peer group in controlling for industry effects, claiming only the consumer

finance subsector of that index really consisted of “companies similar to Household.”16

        Unfortunately for defendants, James failed to analyze how the four consumer-finance-
subsector companies in the S&P Financials fared during the Leakage Period compared to Household.

In his Second Rebuttal Report, Fischel answered that question: MBNA, American Express,

Providian and Capital One vastly outperformed Household between November 15, 2001 and October

11, 2002, declining only 16% compared to Household’s 53% decline. Fischel Second Rebuttal

Report, ¶11. Indeed, had Fischel used James’ consumer finance subsector as his peer group,


16
    Again, James’ opinion is a rehash of arguments that defendants made at the first trial regarding Fischel’s
peer group selection. In tendering James’ opinion, defendants ignore the Court of Appeals’ finding that
Defendants had to provide “significant negative information about Household unrelated to these corrective
disclosures (and not attributable to market or industry trends).” Glickenhaus, 787 F.3d at 419. Arguments
about macroeconomic issues and the proper industry peer group should not be an issue at the re-trial.

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damages would have been higher than the damages calculation generated by using the S&P

Financials Index. Id., ¶12. Faced with this harsh reality, James had to change his opinion.

        In doing so, James was forced to scramble in both his Rebuttal Report and his deposition.

First, James claimed that in using the phrase “companies similar to Household” in his initial report,

he only meant Providian and Capital One, jettisoning his now inconvenient reference to the S&P

consumer finance subsector as a whole, which also included MBNA and American Express –

companies that vastly outperformed Household. James Depo. Tr. at 167:1-7. Second, in his

Rebuttal Report, James switched his peer group. In rebuttal, James compared Household to a new

peer group he dubbed the “Subprime Lenders Index,” consisting of Providian, Capital One, Metris,

Compucredit and Americredit. In identifying this new peer group on rebuttal, James ignored the fact

that Capital One, Providian, Metris and Compucredit were exclusively credit card companies and

Americredit was an auto finance company – none of those companies were primarily mortgage

lenders like Household. See Ferrell Rebuttal Report, Exs. 2K and 2L. In short, faced with Fischel’s

analysis of the performance of the consumer finance subsector vis-à-vis Household, James simply

cherrypicked a new peer group of five companies.

        James’ selection of his “Subprime Lenders” peer group is flawed and unreliable. First, James

conceded that in the past, in analyzing loss causation and damages, he has selected peer groups from

the companies listed as competitors in a company’s proxy statement (as Fischel did here in selecting

the S&P Financials Index) or from peer groups identified in contemporaneous analyst reports. James

Depo. Tr. at 82:23-83:6; 85:1-5; 86:4-87:3; 88:10-14; 89:11-15. Here, James took neither approach.

United States EEOC v. Rockwell Int’l Corp., 60 F. Supp. 2d 791, 797 (N.D. Ill. 1999) (excluding

expert testimony as unreliable where the expert failed to follow the methodology and principles

normally applied by other experts in the field and that he himself normally applied, and in fact

“employ[ed] principles that contradicted his normal methodology in various respects”); Amorgianos

v. Amtrak, 303 F.3d 256, 268-69 (2d Cir. 2002) (affirming exclusion of expert testimony where

expert failed to reliably apply his own methodology). Moreover, James’ cherry-picked selection of

his “Subprime Lenders” index is completely inconsistent with the methodology outlined in academic

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articles, including one authored by his co-expert Ferrell. Ferrell’s article states that a proper peer

group should be selected from either: (1) the company’s own public filings (such as Household’s

Form 10-K or proxy which identifies the S&P Financials Index); (2) equity analyst reports; and (3)

constituents of widely used industry indices (such as the S&P Financials Index). Ferrell and Saha,

The Loss Causation Requirement for Rule 10b-5 Causes of Action: The Implications of Dura

Pharms. Inc. v. Broudo, 63 Bus. Law 163, at 4 (Nov. 2007), Drosman Decl., Ex. 13. James

eschewed Household’s public filings, widely used industry indices, and failed to identify a single

analyst report that lists only these five companies as Household’s peer group.

        Finally, James’ use of his “Subprime Lenders” peer group, and his claim that the group is

similar to Household is contradicted by the evidence in this case. At his deposition, James was

confronted with the fact that these five companies were not primarily mortgage lenders like

Household. James Depo. Tr. at 250:4-251:8. James had no answer for the fact that Household,

during the Leakage Period, informed investors that only one percent of its managed receivables arose

from subprime credit card customers – as opposed to the clearly subprime credit card lenders,

Capital One, Providian, Metris and Compucredit. James Depo. Tr. at 111:16-25; 112:13-22. See

also Fischel Second Rebuttal Report, Ex. 47 (“the company disclosed that its subprime card portfolio

totaled $1.3 billion or less than 1% of managed receivables”). Similarly, Household’s auto finance

business, unlike its alleged peer, AmeriCredit, was a minor part of its business – constituting only

6% of Household’s portfolio. James Report, ¶11(a). Put bluntly, none of these companies had real

estate or mortgage services lines of business, which were 62% of Household’s portfolio. See also

Ferrell Rebuttal Report, Ex. 2K. In sum, these five companies are not peers of Household – James

just made it up. Without a sound methodology, James should not be allowed to present his five

companies as peers of Household.

        To compound his flawed peer group selection, at his deposition, James conceded that in

comparing Household to his cherry-picked group, he used no event study and no regression analysis,

while admitting that these were typical economic approaches to analyzing loss causation and

damages. See James Depo. Tr. at 79:7-13; 76:2-3 (James admits he did not do an event study or

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regression analysis); id. at 81:4-7 (James admits he has done an event study and regression analysis

in prior cases when testifying about loss causation and damages but not in this case). Again, faced

with the fact that his opinion was pulled out of thin air, James claimed that his analysis was “an

alternative scientific approach . . . it’s very much in the spirit of a propensity score matching

technique where you really look at the difference between the performance of a treatment group,
where here the treated group is – is Household – and a control group, which is firms with the same

business focus – financial firms with the same business focus as – as Household, who would be

impacted in a similar way to developments that were occurring in the economy and in the segment of

the business that was associated with the Household business model.” James Depo. Tr. at 79:7-80:1.

        However, James was forced to admit that neither of his reports contained the phrase

“propensity score matching technique.” James Depo. Tr. at 262:13-16, 269:3-7. James also

admitted, after much hemming and hawing, that the words “propensity score technique” do not

appear in a single academic article that relates to loss causation and damages. Id. at 268:11-269:7.

Again, James’ “methodology” is no methodology at all – and, whatever it may be, it has no

application to loss causation and damages.

        In making these damaging admissions, James concedes that he failed to use an accepted

methodology to select his rebuttal report peer group, failed to perform an event study or regression

analysis, relying instead on the alternative “similar in spirit” to a propensity score technique, which

has never been adopted for use in analyzing loss causation and damages. James Depo. Tr. at 209:3-

7; 267:2-268:19. James’ entire analysis is unreliable, has no support in the academic literature, and

is not based on any recognized scientific method. As such, James should not be permitted to “waltz

into the courtroom and render opinions unless those opinions are based upon some recognized

scientific method and are reliable.” Clark, 192 F.3d at 759 n.5. James’ opinion should be excluded.

        F.      Cornell’s Opinion that Fischel Failed to Account for Confounding
                Information Is Classic Ipse Dixit and Should Be Excluded
        In his initial report, Cornell opines that Fischel fails to “reliably control for value-relevant,

firm-specific, non-fraud information” (i.e., confounding information) during the Leakage Period,

which renders Fischel’s estimation of inflation based on the leakage model unreliable. See Cornell
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Report, ¶¶17, 20-23 (Dkt. No. 2060-2). The sole basis for Cornell’s opinion is his “cursory review”

of Fischel’s September 15, 2015 report, which purportedly “demonstrates that firm-specific,

nonfraud information affected Household’s stock price on days that [Fischel] identifies as having a

statistically significant decline during the Observation Window.” Cornell Report, ¶21. In support,

Cornell points to just two articles, which discuss concerns regarding “Household’s liquidity and

generally depressed market multiples for financials,” and which Cornell contends are not related to

the fraud. Id., ¶22. Cornell’s opinion is classic ipse dixit and should be excluded.

        Three days after Cornell’s March 10, 2016 deposition, defense counsel sent an e-mail to

plaintiffs advising that “Cornell will not testify at trial regarding the two examples” of nonfraud,

company-specific information set forth in his report. See Drosman Decl., Ex. 18 (“Cornell will not

be offering testimony at trial with respect to paragraph 22 . . . of his October 23 report.”). Thus,

when Cornell’s “analysis” of the two articles is removed from his report (Cornell Report, ¶22), the

only thing left is Cornell’s unsupported conclusion that “Fischel’s failure to reliably control for

value-relevant, firm-specific, non-fraud information during the relevant period . . . means that Prof.

Fischel’s Leakage Model does not reliably estimate inflation.” Cornell Report, ¶23. “An expert who

supplies nothing but a bottom line supplies nothing of value to the judicial process,” yet that is

exactly what Cornell has done here. Huey v. UPS, 165 F.3d 1084, 1087 (7th Cir. 1999) (affirming

exclusion of expert testimony).

        Indeed, as Cornell admits, his conclusion is not the result of any scientific analysis

whatsoever, as he has not “done the work” necessary to determine whether certain information is

fraud-related or not fraud-related (and conceded that he “did not have a full understanding of the

fraud”), did not perform his own event study, “didn’t attempt to do a systematic study” of the

information Fischel cites, did not even read the entirety of the two articles cited in his report, and

concedes that the two (now-abandoned) examples he provided are insufficient to support a scientific

opinion. Cornell Depo. Tr. at 105:14-106:17; 118:13-16 (“I did no systematic review of analyst

reports.”); 118:21-119:1 (same); 136:1-18 (“It was not the basis of any formal analysis.”); 137:21-



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138:9; 140:18-142:3; 142:4-144:6. “[A]n expert must ‘substantiate his opinion; providing only an

ultimate conclusion with no analysis is meaningless.’” Huey, 165 F.3d at 1087.17

        Nor can Cornell simply parrot the conclusions of defendants’ two other experts for his

opinion. Cornell Report, ¶¶17, 20-23; Cornell Depo. Tr. at 110:9-19 (“I’m basing that conclusion on

[Ferrell’s] work”); 111:17-112:12 (same); 119:15-120:9. Cornell admits that he did not make any

judgments about whether certain information was fraud-related because he had no understanding of

the underlying fraud in this case. Cornell Depo. Tr. at 105:14-23. Indeed, Cornell was unable to

describe the fraud relating to predatory lending, reaging or restatement, did not even identify trial

testimony or trial exhibits in his reliance materials (other than the testimony of Bajaj and Fischel),

and identified defendants Schoenholz and Gilmer as “Schoenfield” and “Gilman.” Cornell Depo. Tr.

at 79:22-87:23, 91:17-102:14. Simply put, Cornell was not equipped to determine whether

information was fraud related: “Q. Did you do anything to learn the details of Defendants’ fraud? A.

Not the details.” Id. at 87:24-88:2. Rather, Cornell relied exclusively on Ferrell’s analysis and

Ferrell’s conclusion “that there are value-relevant, firm-specific, non-fraud events” that Fischel’s
leakage model does not take into account.18 Cornell Depo. Tr. at 105:14-106:3; 110:9-111:4;

111:17-112:12.



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    Other courts have found Cornell’s opinions unreliable or inadmissible. See, e.g., Louis Vuitton Malletier
v. Dooney & Bourke, Inc., 525 F. Supp. 2d 558, 675-76 (S.D.N.Y. 2007) (excluding Cornell’s regression
analysis as unreliable because his “conclusory statement that it is standard procedure” to do two regressions
rather than one “is not sufficient to justify its admission; that is simply the ipse dixit of the expert”); In re
Novatel Wireless Sec. Litig., 846 F. Supp. 2d 1104 (S.D. Cal. 2012) (excluding Cornell on the grounds that his
loss causation opinions were based on an erroneous legal standard); Silver Point Fin., LLC v. Deutsche Bank
Trust Co. Ams. (In re K-V Discovery Solutions, Inc.), 496 B.R. 330 (Bankr. S.D.N.Y. 2013) (discounting
Cornell’s expert testimony because it was unsupported by the record evidence in the case); Negrete v. Allianz
Life Ins. Co., No. CV 05-6838 CAS, 2013 WL 6535164, at *7-*8 (C.D. Cal. Dec. 9, 2013) (precluding
Cornell from testifying about the subjective value of defendants’ annuities because such testimony rested on
an erroneous theory of damages).
18
     Cornell’s testimony that he “relied” on Ferrell’s report in forming the opinion set forth in his own report
is curious given that Ferrell’s and Cornell’s reports were served on the same day, and Cornell testified that he
did not obtain Ferrell’s report until after it was filed. Cornell Depo. Tr. at 121:5-14. Cornell later clarified
that someone at Cornerstone, the company behind the curtain that supported all three experts, told him “that
Professor Ferrell had found systematic evidence of firm-specific, value-relevant, non-fraud information,”
Cornell Depo. Tr. at 122:23-123:16; 124:2-21, and it was on this oral representation by a third-party
consultant that he relied.

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         However, it is well settled in the Seventh Circuit that one expert cannot serve as the

“mouthpiece” for another expert, particularly where “the soundness of the underlying expert

judgment is in issue”; Cornell’s attempt to serve as a mouthpiece for Ferrell here should be rejected.

See Dura Auto. Sys. of Indiana, Inc. v. CTS Corp., 285 F.3d 609, 613-14 (7th Cir. 2002); Paramount

Media Group, Inc. v. Vill. of Bellwood, 308 F.R.D. 162, 164-65 (N.D. Ill. 2015) (excluding

testimony where the expert was “just a spokesman for someone else” and could do nothing more

than “recite” that person’s “bottom line”) (decision adopted by and objection overruled by

Paramount, 2015 WL 5307483); Loeffel Steel Prods., 387 F. Supp. 2d at 808 (granting motion to bar

expert testimony because the expert was merely “vouching for the truth of what another expert told

him”).

         In sum, “nothing in either Daubert or the Federal Rules of Evidence requires a district court

to admit opinion evidence that is connected to existing data only by the ipse dixit of the expert.” GE

v. Joiner, 522 U.S. 136, 146 (1997). Because Cornell’s opinion rests on nothing but ipse dixit, it

should be excluded.

III.     DEFENDANTS’ EXPERTS SHOULD BE PRECLUDED FROM
         OFFERING OPINIONS FIRST RAISED IN THEIR REBUTTAL
         REPORTS
         All three of defendants’ experts should be precluded from offering expert testimony at trial

on those issues which they inappropriately raised for the first time in their rebuttal reports. An

expert rebuttal report is designed to “contradict, impeach or defuse the impact of the evidence”

disclosed in an adverse expert’s report, in this instance Professor Fischel’s Second Rebuttal Report.19

Fed. R. Civ. P. 26(a)(2)(D)(ii); Peals v. Terre Haute Police Dep’t, 535 F.3d 621, 630 (7th Cir.

2008). “‘[T]he rebuttal expert report is no place for presenting new arguments, unless presenting
those arguments is substantially justified and causes no prejudice.’” Paramount, 2015 WL 5307483,

at *8. Nevertheless, defendants’ experts’ rebuttal reports each set forth new opinions or analyses



19
   Professor Fischel’s Second Rebuttal Report expressly responds to defendants’ experts’ criticisms of his
Second Supplemental Report.

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wholly unrelated to the arguments and evidence Professor Fischel presents, and which could easily

have been raised in their initial reports.

        For example, Ferrell uses his rebuttal report to argue, for the first time, that the Specific

Disclosure Model is the only appropriate method of calculating damages in this action. But, in

opining on the alleged advantages of the Specific Disclosure Model, Ferrell plainly is not attempting

to “contradict or rebut evidence offered” by Fischel in his Second Rebuttal – Fischel has been

offering both methods for estimating inflation in this case for many years. Instead, Ferrell is

belatedly promoting defendants’ preferred damages methodology. See Paramount, 2015 WL

5307483, at *8 (striking portions of expert’s rebuttal report because it did not address opinions raised

in initial expert’s report, and as such, was improper rebuttal evidence); Stanfield v. Dart, No. 10 C

6569, 2013 WL 589222, at *3 (N.D. Ill. Feb. 14, 2013) (“A party may not offer testimony under the

guise of ‘rebuttal’ only to provide additional support for his case in chief.”); Noffsinger v. Valspar

Corp., 09 C 916, 2011 WL 9795, at *6 (N.D. Ill. Jan. 3, 2011) (same).

        Ferrell also conducts a wholly new damages quantifications in his rebuttal, opining that the

maximum per share damages in this action should be only $4.19. See Ferrell Rebuttal, ¶¶97-98 &

Exs. 8 and 9 thereto. Ferrell offers no reason why he did not, or could not, provide this analysis in

his initial report. He identifies no new information that became available to him after the filing of

his initial report that was necessary to conduct his alternative damages calculation. See id., ¶¶97-

100. It appears that Ferrell simply chose not to present his quantification in his initial report – a

wholly inadequate justification, particularly in light of the prejudicial effect it has had on plaintiffs.

Ferrell’s alternative damages quantification is the first such quantification that defendants have

proffered in fourteen years of litigation; including it in an expert rebuttal report is simply
unacceptable. See Sloan Valve Co. v. Zurn Indus., No. 10 C 204, 2013 WL 3147349, at *3-*4 (N.D.

Ill. June 19, 2013) (excluding expert’s new damages calculations, raised for first time in reply expert

report); Shen Wei (USA) Inc. v. Sempermed USA, Inc., No. 05-C-6004, 2009 WL 674364, at *1

(N.D. Ill. Mar. 12, 2009) (striking sur-rebuttal reports that introduced new evidence, offered for first

time in years of litigation, in effort to refute adverse expert’s opinions).

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        Finally, as referenced in §II.B.2, supra, Ferrell – perhaps recognizing the improperly

speculative nature of his original opinions – claims his rebuttal report analyzed whether any of the

purported nonfraud related information he identifies actually had a quantifiable impact on

Household’s stock price. See Ferrell Depo Tr. at 293:23-294:4 (noting that in his initial report he

said firm-specific nonfraud disclosures “may have” contributed to Household’s stock price decline,

but in his “second report, [he] quantif[ied] it”). Even setting aside the flaws with this analysis as

discussed herein, his analysis constitutes an entirely new opinion, and this on its own merits

exclusion. The fact that Ferrell could certainly have tested his theories in his initial report, but

waited until after Fischel had submitted his own rebuttal to do so, further militates for exclusion of

the additional opinions. A rebuttal is no place for belated attempts to cure defects in an initial report.

See Baldwin Graphic Sys., Inc. v. Siebert, Inc., No. 03 C 7713, 2005 WL 1300763, at *3 (N.D. Ill.

Feb. 22, 2005) (striking portions of rebuttal that should have been disclosed in expert’s initial

report); Welch v. Eli Lilly & Co., No. 06-cv-0641, 2009 WL 700199, at *4 (S.D. Ind. Mar. 16, 2009)

(“The fact that entirely new analyses were conducted demonstrates the report cannot be

characterized as . . . a rebuttal report.”).

        James and Cornell also raise opinions for the first time on rebuttal that are unrelated to

Fischel’s analysis or criticisms of their initial reports. For example, James, whose assignment

supposedly was limited to “respond[ing] to the assertions regarding [his] Initial Report discussed in

Fischel’s Second Rebuttal Report,” criticizes the length of Fischel’s leakage window, expounds on a

body of academic literature that purportedly supports his assertion, and offers a new peer group. See

James Rebuttal, ¶¶5, 14, 20-22. If James wanted to criticize the length of Fischel’s leakage window,

relying on publicly available academic literature to do so, he should have disclosed that opinion in

his initial report. See Stanfield, 2013 WL 589222, at *3.

        Similarly, Cornell suggests in his rebuttal that Fischel’s reliance on Cornell and Morgan is

misplaced since the paper was written prior to Dura Pharmaceuticals and the passage of the PSLRA.

Cornell Rebuttal, ¶16 (Dkt. No. 2074-2). Even setting aside the impropriety of offering a legal

opinion as to whether Fischel’s model proves loss causation, Cornell’s opinion merits exclusion

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because it is simply unacceptable to raise a new argument on rebuttal – particularly where, as here,

the materials relied upon in forming the opinion have been available since 2005. See Cornell
Rebuttal, ¶16 (citing his understanding of the “2005 Dura Pharmaceuticals decision”).

        In sum, to the extent that defendants’ experts raise new arguments, opinions and analyses in

their rebuttal reports which could have been raised in their initial reports, those opinions must be

excluded in order to prevent further prejudice to plaintiffs.

IV.     DEFENDANTS SHOULD BE PRECLUDED FROM TENDERING
        CUMULATIVE EXPERT TESTIMONY AT TRIAL
        The rule in this District is clear: “Only one F.R. Evid. 702 witness on each subject for each

party will be permitted to testify absent good cause shown.” Form LR 16.1.1. Final Pretrial Order

Form n.7. Ferrell, James and Cornell proffer opinions on the same subject matter that are largely

cumulative of one another and reach the same overarching conclusion, each contending that

Fischel’s quantification including leakage does not reliably estimate damages. See Ex. 1 (table

demonstrating cumulative expert opinions). Defendants should not be permitted to parade three

experts in front of the jury to challenge plaintiffs’ one expert, as Rule 403 prohibits cumulative

expert testimony like the testimony offered by defendants’ experts here. If the Court does not

exclude defendants’ experts on other grounds (see infra), given the overlapping testimony of Ferrell,

James and Cornell, this Court should limit defendants to one loss causation expert at trial.
        This Court has broad discretion to exclude relevant evidence under Rule 403 if its probative

value is substantially outweighed by the danger of “unfair prejudice, confusing the issues,

misleading the jury, undue delay, wasting time, or needlessly presenting cumulative evidence.” Fed.

R. Evid. 403; Thompson, 472 F.3d at 456. As one court in this district aptly observed, “[m]ultiple

expert witnesses expressing the same opinions on a subject is a waste of time and needlessly

cumulative. It also raises the unfair possibility that jurors will resolve competing expert testimony
by ‘counting heads’ rather than evaluating the quality and credibility of the testimony.” Sunstar, Inc.

v. Alberto-Culver Co., Inc., No. 01 C 0736, 01 C 5825, 2004 WL 1899927, at *25 (N.D. Ill. Aug. 23,




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2004).20 Accordingly, “this district generally prohibits a party from offering multiple experts to

express the same opinions on a subject.” Id.; see also Form LR 16.1.1 n.7.

        Defendants are well aware of the prohibition on cumulative expert testimony, as their earlier

attempt to call multiple expert witnesses for one topic was rejected before the last trial. See Dkt. No.

1507 (granting motion in limine to preclude cumulative expert witness testimony and requiring

defendants to choose one expert to testify about predatory lending at trial). Defendants’ current
attempt to “outnumber” plaintiffs’ loss causation expert fares no better the second time around, as

the proposed trial testimony of Ferrell, James and Cornell is exactly the type of needlessly

cumulative and unfairly prejudicial evidence Rule 403 was designed to eliminate; all three opine that

Fischel’s quantification including leakage does not reliably estimate damages.

        Indeed, as set forth in the attached table, Ferrell and James take a nearly identical path to that

conclusion. See Ex. 1. Both Ferrell and James offer the same incorrect definition of firm-specific
nonfraud information by opining that industry news that would be accounted for in a regression

model is somehow “firm specific” to Household because Fischel’s industry index is too broad. See

Ex. 1, No. 5; Ferrell Report, ¶¶33-34, 40-41; James Report, ¶¶10, 21, 23. Their opinions cover the

same type of industry or market information that they contend could have affected Household’s

stock price during the Leakage Period – the recession; potential double-dip recession; overall

industry credit quality issues; an increase in bankruptcy filings and unemployment; the difficult

funding environment; increased capital requirements; new FFIEC guidelines for credit card

companies; and changes in regulations for subprime lenders. See Ex. 1, Nos. 8-10, 11, 13, 15-16;

Ferrell Report, ¶¶39-43, 44-46, 47-48, 49, 50-54; James Report, ¶¶24, 28-29, 31, 33, 38-39, 43-45,

49, 50-52, 54, 55; James Rebuttal Report, ¶¶17-18, 35-43. Both experts also attack Fischel’s opinion

that firm-specific information released by Household in its quarterly earnings announcements was

positive. See Ex. 1, No. 18; Ferrell Rebuttal Report, ¶¶44-47; James Rebuttal Report, ¶¶44-46.


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    Although the Sunstar court permitted one testifying expert on each subject of Japanese law, here, all three
of defendants’ experts would testify on the same subject: Fischel’s application of the leakage model in this
case. Sunstar, 2004 WL 1899927, at *25. Defendants’ experts should be precluded from doing so.

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        To support their identical opinions, in many instances Ferrell and James cite the very same

analyst reports. See, e.g., Ferrell Report, ¶52 (discussing Capital One’s MOU and quoting a July 18,

2002 Fox-Pitt Kelton analyst report); James Report, ¶54 (same); Ferrell Rebuttal Report, ¶¶39-43

(opining that widening debt spreads were not purely fraud related and quoting an October 9, 2002

Deutsche Bank analyst report); James Rebuttal Report, ¶¶36-37 (same); Ferrell Report, ¶¶45-46

(opining that the “double-dip” recession had a disproportionate adverse impact on Household and

quoting a June 20, 2002 CIBC World Markets analyst report and a July 18, 2002 Salomon Smith

Barney analyst report); James Report, ¶29 (same). James and Ferrell also both challenge Fischel’s

quantification under his leakage model, including his use of the capital asset pricing adjustment, and

his cap on inflation. See Ex. 1, No. 21; James Depo. at 44:10-45:5; Ferrell Report, ¶¶20-21; Ferrell

Depo. Tr. at 305:2-11. Allowing both Ferrell and James to testify on the same subjects and to

provide similar opinions would be prejudicial to plaintiffs.

        The same is true with respect to Ferrell and Cornell. See Ex. 1. For example, both Ferrell

and Cornell opine that Fischel’s leakage model fails to control for confounding information, by
using an event window that was too long. See id., No. 28. Both experts claim Fischel’s leakage

model (1) does not account for statistical noise (id., No. 25); (2) improperly attributes leakage of the

fraud to the declines on 171 days with no statistical significant price changes (id., No. 26); (3)

improperly attributes the fraud to 15 statistically significant days (id., 27); and (4) Fischel’s event

window results in compounding of errors (id., Nos. 3, 28). Cornell even admits that his conclusions

are “based on [his] reading of Professor Ferrell’s work,” evidencing the “needlessly” cumulative

nature of his opinions. Cornell Depo. Tr. at 110:10-19.

        All three experts criticize Fischel’s opinions by claiming that his application of the leakage
model in this case lacks academic support, attacking Fischel’s regression analysis, and claiming that

Fischel’s use of a 228-trading day event window is unsupported and results in compounding of

errors. See Ex. 1, Nos. 2-4. Given that Ferrell, James and Cornell offer the same opinion and use an

almost identical approach to reach their conclusions, defendants cannot demonstrate “good cause” to

justify the presentation of three loss causation experts at trial. Form LR 16.1.1 n.7; Price v. Fox

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Entm’t Group, Inc., 499 F. Supp. 2d 382, 390 (S.D.N.Y. 2007) (precluding cumulative expert

testimony at trial).

        Any attempt by defendants to distinguish Ferrell, James and Cornell by arguing that they

have disparate backgrounds should be rejected, as any distinction in their respective backgrounds

cannot overcome the fact that all three offer the same opinion: Fischel’s quantification including

leakage does not reliably estimate damages. See, e.g., Harbor Ins. Co. v. Continental Bank Corp.,

No. 95 C 7081, 1991 WL 222260, at *5-*7 (N.D. Ill. Oct. 25, 1991) (excluding cumulative expert

witness testimony because “the testimony of three expert witnesses on the same issue is not

acceptable” and dismissing as “meritless” the argument that the expert witness’ testimony was not

cumulative because each expert examined the issues from a different perspective and expertise).

Further, any argument that defendants need three experts to respond to the “distinct issues” raised by

Fischel’s reports rings hollow, as defendants’ decision to engage just one loss causation expert for
the last trial confirms that the purportedly “distinct issues” Fischel raises can easily be addressed by

a single loss causation expert. Limiting defendants to a single loss causation expert will not result in
any prejudice to defendants, as there is nothing James or Cornell have said in this case that Ferrell

has not also said, and if allowed to testify, could not say on the witness stand.21 See McCauley, 2007

WL 2316463, at *7 (excluding cumulative expert testimony that was already covered by other

experts).
        By contrast, if all three of defendants’ loss causation experts are permitted to testify,

plaintiffs will be severely prejudiced, as the jury may improperly give more weight to defendants’

experts simply because they outnumber plaintiffs’ expert. See Sunstar, 2004 WL 1899927, at *25

(observing that the jury should resolve competing expert testimony on its quality and credibility, not

by “counting heads”); Dahlin v. Evangelical Child & Family Agency, No. 1 C 1182, 2002 WL

21
     Defendants contend that James “will address issues regarding the manner in which certain economic
events differentially impact financial institutions in the subprime lending sector,” while Cornell “will explain
to the jury how Fischel misapplied the methodology described in Professor Cornell’s article.” See Dkt. No.
2072 at 2-3 n.1. As Ferrell’s reports and testimony make clear, however, his opinions cover both of the issues
that James and Cornell purport to address. See Ferrell Report, ¶¶43-55; Ferrell Rebuttal Report, ¶¶12-25;
Ferrell Depo. Tr. at 207:20-215:12; 194:6-20; Ex. 1.

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31834881, at *5 (N.D. Ill. Dec. 18, 2002) (excluding cumulative testimony). Additionally, allowing

all three witnesses to testify will waste the Court’s and jury’s time by requiring the jury to hear the

same testimony three separate times. Because the probative value of defendants’ repetitive expert
testimony is substantially outweighed by the danger of unfair prejudice, the testimony should be

excluded and defendants should be forced to pick one loss causation expert for trial. See United
States v. Miles, 207 F.3d 988, 992 (7th Cir. 2000) (“Evidence is unfairly prejudicial ‘if it will induce

the jury to decide the case on an improper basis . . . rather than on the evidence presented.’”).

V.      CONCLUSION
        For the foregoing reasons, Ferrell, James and Cornell should be precluded from testifying. If
defendants’ experts are permitted to testify, defendants should be precluded from tendering

cumulative testimony at trial.

DATED: March 30, 2016                             Respectfully submitted,

                                                  ROBBINS GELLER RUDMAN
                                                   & DOWD LLP
                                                  MICHAEL J. DOWD (135628)
                                                  SPENCER A. BURKHOLZ (147029)
                                                  DANIEL S. DROSMAN (200643)
                                                  LUKE O. BROOKS (90785469)
                                                  LAWRENCE A. ABEL (129596)
                                                  HILLARY B. STAKEM (286152)

                                                                s/ Daniel S. Drosman
                                                              DANIEL S. DROSMAN
                                                  655 West Broadway, Suite 1900
                                                  San Diego, CA 92101
                                                  Telephone: 619/231-1058
                                                  619/231-7423 (fax)
                                                  ROBBINS GELLER RUDMAN
                                                    & DOWD LLP
                                                  JASON C. DAVIS (253370)
                                                  Post Montgomery Center
                                                  One Montgomery Street, Suite 1800
                                                  San Francisco, CA 94104
                                                  Telephone: 415/288-4545
                                                  415/288-4534 (fax)




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                                       ROBBINS GELLER RUDMAN
                                         & DOWD LLP
                                       MAUREEN E. MUELLER
                                       120 East Palmetto Park Road, Suite 500
                                       Boca Raton, FL 33432
                                       Telephone: 561/750-3000
                                       561/750-3364 (fax)
                                       Lead Counsel for Plaintiffs
                                       MILLER LAW LLC
                                       MARVIN A. MILLER
                                       LORI A. FANNING
                                       115 S. LaSalle Street, Suite 2910
                                       Chicago, IL 60603
                                       Telephone: 312/332-3400
                                       312/676-2676 (fax)

                                       Liaison Counsel




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                  STATEMENT OF COMPLIANCE WITH LOCAL RULE 37.2

         In compliance with Local Rule 37.2, the parties conferred telephonically in good faith on

March 25, 2016, at 3:30 p.m. CDT, regarding plaintiffs’ intention to move to exclude the trial

testimony of defendants’ experts, Alan Ferrell and Christopher James, as a result of defendants’ and

their experts’ discovery violations. Plaintiffs were represented on the call by Michael Dowd,

Spencer Burkholz, Daniel Drosman and Luke Brooks of Robbins Geller Rudman & Dowd LLP.

Defendants were represented by Ryan Stoll of Skadden, Arps, Slates, Meagher & Flom LLP and

Steven Farina of Williams & Connolly LLP.

         During the conference, plaintiffs’ counsel explained that defendants had failed to satisfy their

discovery obligations with respect to Ferrell and James, as demonstrated by (1) Ferrell’s refusal to

answer certain deposition questions on the improper instruction of counsel, and his evasiveness in

answering others; (2) Ferrell’s failure to disclose the “Institutional Investor” magazine and

unspecified academic literature used to select his peer group; and (3) James’ failure to identify in his

report the methodology he employed in selecting his comparable peer index and in analyzing the

performance of that index as compared with that of Household. Defense counsel disagreed that the

bases for Ferrell’s and James’ opinions were inadequately disclosed. They also maintained that

defense counsel’s instructions not to answer at Ferrell’s February 27, 2016 deposition were properly

made. Mr. Brooks responded that he had, several times, informed defense counsel the impropriety

of his instructions not to answer to Ferrell at the time he issued them.

         It being evident that the parties’ good faith discussions had reached an impasse, plaintiffs’

counsel thereafter advised defense counsel that they intended to seek relief on these matters from the

Court.




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                                  CERTIFICATE OF SERVICE

        I hereby certify that on March 30, 2016, I authorized the electronic filing of the foregoing

with the Clerk of the Court using the CM/ECF system which will send notification of such filing to

the e-mail addresses for counsel of record denoted on the attached Service List.

        I certify under penalty of perjury under the laws of the United States of America that the

foregoing is true and correct. Executed on March 30, 2016.

                                                   s/ Daniel S. Drosman
                                                   DANIEL S. DROSMAN

                                                   ROBBINS GELLER RUDMAN
                                                          & DOWD LLP
                                                   655 West Broadway, Suite 1900
                                                   San Diego, CA 92101-8498
                                                   Telephone: 619/231-1058
                                                   619/231-7423 (fax)

                                                   E-mail: DanD@rgrdlaw.com




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                                        Service List


                     Counsel                                        E-mail address
Stewart Theodore Kusper                                Stewart.Kusper@Kusperlaw.com
Giovanni Antonio Raimondi                              Giovanni.Raimondi@Kusperlaw.com
THE KUSPER LAW GROUP, LTD.                             tleonard@jw.com
20 North Clark Street, Suite 3000
Chicago, IL 60602
(312) 204-7938

Tim S. Leonard
JACKSON WALKER L.L.P.
1401 McKinney Street, Ste. 1900
Houston, TX 77010
(713)752-4439
                        Counsel for Defendant David A. Schoenholz
Dawn Marie Canty                                       dawn.canty@kattenlaw.com
Gil M. Soffer                                          gil.soffer@kattenlaw.com
KATTEN MUCHIN ROSENMAN LLP
525 West Monroe Street
Chicago, Illinois 60661
(312)902-5253
                        Counsel for Defendant William F. Aldinger
David S. Rosenbloom                                    drosenbloom@mwe.com
C. Maeve Kendall                                       makendall@mwe.com
McDERMOTT WILL & EMERY, LLP
227 West Monroe Street
Chicago, IL 60606
(312) 984-2175
                            Counsel for Defendant Gary Gilmer




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                    Counsel                                     E-mail address
R. Ryan Stoll                                       rstoll@skadden.com
Mark E. Rakoczy                                     mrakoczy@skadden.com
Andrew J. Fuchs                                     Andrew.Fuchs@skadden.com
Donna L. McDevitt                                   Donna.McDevitt@skadden.com
Patrick Fitzgerald                                  Patrick.Fitzgerald@skadden.com
SKADDEN, ARPS, SLATE, MEAGHER & FLOM                pclement@bancroftpllc.com
LLP                                                 zhudson@bancroftpllc.com
155 North Wacker Drive                              TKavaler@cahill.com
Chicago, IL 60606                                   Jhall@cahill.com
(312)407-0700                                       dbutswinkas@wc.com
                                                    sfarina@wc.com
Paul D. Clement                                     lmahaffey@wc.com
D. Zachary Hudson                                   amacdonald@wc.com
BANCROFT PLLC                                       twolfe@degrandwolfe.com
1919 M Street NW, Ste. 470                          ldegrand@degrandwolfe.com
Washington, DC 20036
(202)234-0090

Thomas J. Kavaler
Jason M. Hall
CAHILL GORDON & REINDEL LLP
80 Pine Street
New York, NY 10005
(212)701-3000

Dane H. Butswinkas
Steven M. Farina
Leslie C. Mahaffey
Amanda M. MacDonald
WILLIAMS & CONNOLLY LLP
725 Twelfth Street NW
Washington DC 20005
202-434-5000

Luke DeGrand
Tracey L. Wolfe
DEGRAND & WOLFE, P.C.
20 South Clark Street
Suite 2620
Chicago, Illinois 60603
(312) 236-9200
(312) 236-9201 (fax)
                    Counsel for Defendant Household International Inc.




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                      Counsel                                        E-mail address
Michael J. Dowd                                           miked@rgrdlaw.com
Spencer A. Burkholz                                       spenceb@rgrdlaw.com
Daniel S. Drosman                                         dand@rgrdlaw.com
Luke O. Brooks                                            lukeb@rgrdlaw.com
Hillary B. Stakem                                         hstakem@rgrdlaw.com
ROBBINS GELLER RUDMAN & DOWD LLP                          jdavis@rgrdlaw.com
655 West Broadway, Suite 1900                             mmueller@rgrdlaw.com
San Diego, CA 92101
(619)231-1058
619/231-7423 (fax)

Jason C. Davis
ROBBINS GELLER RUDMAN & DOWD LLP
Post Montgomery Center
One Montgomery Street, Suite 1800
San Francisco, CA 94104
(415)288-4545
(415)288-4534 (fax)

Maureen E. Mueller
ROBBINS GELLER RUDMAN & DOWD LLP
120 East Palmetto Park Road, Suite 500
Boca Raton, FL 33432
(561)750-3000
(561)750-3364 (fax)
                                     Lead Counsel for Plaintiffs
Marvin A. Miller                                          Mmiller@millerlawllc.com
Lori A. Fanning                                           Lfanning@millerlawllc.com
MILLER LAW LLC
115 S. LaSalle Street, Suite 2910
Chicago, IL 60603
(312)332-3400
(312)676-2676 (fax)
                                    Liaison Counsel for Plaintiffs




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